               IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF IOWA
                         WESTERN DIVISION

UNITED STATES OF AMERICA,
            Plaintiff,                             No. 09-CR-4038-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
SCOTT ALAN HARE,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                 I.   INTRODUCTION AND BACKGROUND

      On January 27, 2010, a three count Third Superseding

Indictment    (Docket     No.    75)     was       returned     in    the   above-

referenced    case.       The    Third    Superseding         Indictment       also

contained a forfeiture allegation.

      Count 1 of the Third Superseding Indictment charges that

on or between about October 2005, and February 4, 2009, in the

Northern District of Iowa and elsewhere, defendant Scott Alan

Hare and other named co-defendants, knowingly and unlawfully

combined, conspired, confederated, and agreed with each other

and other persons, known and unknown to the Grand Jury to:

      (1)   manufacture     50    grams       or    more   of    actual     (pure)

methamphetamine,      a   Schedule       II    controlled        substance,         in

violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A);



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    (2)     distribute      50   grams     or       more    of     actual    (pure)

methamphetamine,      a    Schedule       II    controlled         substance,        in

violation of Title 21, United States Code, Sections 841(a)(1)

and 841(b)(1)(A);

    (3)     distribute     50    grams     or       more    of    methamphetamine

mixture, a Schedule II controlled substance, in violation of

Title     21,   United     States   Code,           Sections      841(a)(1)      and

841(b)(1)(B);

    (4)     manufacture     50    grams        or    more    of    actual    (pure)

methamphetamine, a Schedule II controlled substance, within

1,000 feet of the Marcus-Meridan-Cleghorn High School, located

at 500 E. Fenton, Marcus, Cherokee County, Iowa, and the

Cherokee School District Early Childhood Learning Center,

located    at   400   N.   Roosevelt,          Cherokee      County,     Iowa,       in

violation of Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(A), and 860(a);

    (5)     distribute      50   grams     or       more    of     actual    (pure)

methamphetamine, a Schedule II controlled substance, within

1,000 feet of the Marcus-Meridan-Cleghorn High School and

Elementary School, located at 500 E. Fenton, Marcus, Cherokee

County, Iowa, and the Cherokee County School District Early


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Childhood      Learning   Center,   located     at    400      N.    Roosevelt,

Cherokee County, Iowa, in violation of Title 21, United States

Code, Sections 841(a)(1), 841(b)(1)(A), and 860(a);

    (6)     distribute    50    grams   or    more    of    methamphetamine

mixture, a Schedule II controlled substance, within 1,000 feet

of the Marcus-Meridan-Cleghorn High School and Elementary

School, located at 500 E. Fenton, Marcus, Cherokee County,

Iowa,    and   the   Cherokee    School      District      Early       Childhood

Learning Center, located at 400 N. Roosevelt, Cherokee County,

Iowa, in violation of Title 21, United States Code, Sections

841(a)(1), 841(b)(1)(B), and 860(a);

    (7)     distribute    pseudoephedrine,        a   List       I     chemical,

knowing and having reasonable cause to believe that the

pseudoephedrine would be used to manufacture methamphetamine,

a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(c)(2); and

    (8) possess pseudoephedrine, a List I chemical, with

intent    to    manufacture      methamphetamine,          a     Schedule          II

controlled substance, in violation of Title 21, United States

Code, Section 841(c)(1);

after defendant, Scott Alan Hare, was previously convicted of


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at least one felony drug offense, to wit: on November 13,

2001, defendant, Scott Alan Hare, was convicted in the Iowa

District     Court   for   Ida    County,    of    the     felony      crime       of

Conspiracy     to    Deliver      Methamphetamine,         in      Case        Number

FECR005492.

    This was in violation of Title 21, United States Code,

Sections 846, 851, and 860(a).

    Count 2 of the Third Superseding Indictment charges that

on or about October 12, 2005, continuing through January 28,

2009,   in   the     Northern     District   of     Iowa      and     elsewhere,

defendant,     Scott    Alan      Hare,   traveled       on     one       or     more

occurrences, including but not limited to the following:

    DATE                    LOCATION

    10/12/2005              Wal-Mart-Worthington, Minnesota

    10/12/2005              Shopko-Worthington, Minnesota

in interstate commerce from Iowa to and from Minnesota with

intent to promote, manage, establish, and carry on, and to

facilitate     the    promotion,      management,        establishment            and

carrying on of an unlawful activity, that is a business

enterprise    involving     the    manufacture      and    distribution            of

controlled substances, in violation of Title 21, United States


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Code, Sections 841 and 846, and thereafter performed and

attempted to perform acts to promote, manage, establish, and

carry   on,    and    to   facilitate   the    promotion,       management,

establishment, and carrying on of said unlawful activity.

      All in violation of Title 18, United States Code, Section

1952(a)(3).

      Count 3 of the Third Superseding Indictment charges that

on or about November 1, 2008, in the Northern District of

Iowa, defendant, Scott Alan Hare, and a named co-defendant,

knowingly and intentionally manufactured and attempted to

manufacture: 50 grams or more of a mixture or substance

containing a detectable amount of methamphetamine, a Schedule

II controlled substance; and, 5 grams or more of actual (pure)

methamphetamine, a Schedule II controlled substance, after

defendant Scott Alan Hare was previously convicted of at least

one   felony   drug    offense,   to    wit:   On   November     13,   2001,

defendant, Scott Alan Hare, was convicted in the Iowa District

Court for Ida County, of the felony crime of Conspiracy to

Deliver Methamphetamine, in Case Number FECR005492.

      This was in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B), 846, and 851.


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    The Third Superseding Indictment contains a forfeiture

allegation stating that upon conviction of one or more of the

controlled substance offenses alleged in Count 1 of this

Indictment, co-defendants and defendant Scott Alan Hare; and

Count 3 of this Indictment, a co-defendant and defendant Scott

Alan Hare, shall forfeit to the United States pursuant to 21

U.S.C. § 853, any property constituting, or derived from,

proceeds obtained, directly or indirectly, as a result of the

said violations and any property used, or intended to be used,

in any manner, or part, to commit, or to facilitate the

commission of the said violations, including but not limited

to the following:

    MONEY JUDGMENT

    A    sum   of   money    equal    to    $10,000    in    United     States

currency, representing the amount of proceeds generated from

illegal activity.

    If any of the above-described forfeitable property, as a

result of any actual or omission of the defendant:

    1)    cannot     be     located       upon   the   exercise       of    due

          diligence;




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    2)      has been transferred or sold to, or deposited with,

            a third party;

    3)      has    been     placed     beyond        the   jurisdiction        of   the

            court;

    4)      has been substantially diminished in value; or

    5)      has been commingled with other property which cannot

            be divided without difficulty; it is the intent of

            the United States, pursuant to 21 U.S.C. §853(p), to

            seek    forfeiture        of       any   other      property     of     said

            defendant       up   to    the       value     of    the    forfeitable

            property described above.

    On April 21, 2010, defendant, Scott Alan Hare, appeared

before Chief United States Magistrate Judge Paul A. Zoss and

entered a plea of guilty to Counts One and Three of the Third

Superseding Indictment, under a plea agreement filed under

seal at Docket No. 116-1.

    In   the       Report    and      Recommendation            (Docket     No.     119,

04/21/2010), Chief United States Magistrate Judge Paul A. Zoss

recommends that defendant Scott Alan Hare’s guilty plea be

accepted.          No   objections         to    Judge       Zoss’s     Report       and

Recommendation were filed.             The Court, therefore, undertakes


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the necessary review to accept defendant Scott Alan Hare’s

plea in this case.

                               II.   ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).           Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).

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    In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

    IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief   Magistrate    Judge    Zoss’s   Report     and    Recommendation

(Docket No. 119), and accepts defendant Scott Alan Hare’s plea

of guilty in this case to Counts 1 and 3 of the Third

Superseding Indictment (Docket No. 75).

    IT IS SO ORDERED this 10th day of August, 2010.


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                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




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